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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG           *
       “DEEPWATER HORIZON” IN THE         *                  MDL NO. 2179
       GULF OF MEXICO, on APRIL 20, 2010 *
                                          *
                                          *                  SECTION J
THIS DOCUMENT RELATES TO:                 *
                                          *                  JUDGE BARBIER
ALL CASES                                 *                  MAG. JUDGE SHUSHAN
                                          *
*******************************************


         PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS

         Pursuant to Local Rule 56.1, Plaintiffs respectfully submit the attached statement

of undisputed facts in connection with their motion for partial summary judgment:

   1.)      Subject to various exceptions, the Oil Pollution Act of 1990 (“OPA”), 33
            U.S.C. §2704(a)(3), provides for a cap on liability of $75 million, plus
            removal costs, for a designated responsible party.

   2.)      BP Exploration & Production, Inc., has been designated a responsible party
            under OPA with respect to the oil spill emanating from the Macondo well on
            or after April 20, 2010.
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      3.)    Following an October 15, 2010 status conference, the Court directed BP to
             “advise the court and all counsel in writing by October 22, 2010 at to whether
             BP formally waives the $75 million OPA damages cap.”1

      4.)    On October 18, 2010, BP filed a “Statement of BP Exploration & Production
             Inc. Re Applicability of limit of Liability Under Oil Pollution Act of 1990.”
             (the “Statement”) into the record.2

      5.)    In the Statement, BP declared the following:
             a. That “it would pay all legitimate claims, regardless of the OPA statutory
                 limit of liability.”3
             b. That it “will live up to its public commitment to pay all legitimate claims
                 made in connection with the Deepwater Horizon incident and the resulting
                 oil spill.”4
             c. That it “has chosen to waive the statutory limitation on liability under
                 OPA.”5
             d. That other parties should “likewise” unequivocally waive this statutory
                 cap.
             e. That, regardless of whether other parties elect to waive this damages cap,
                 “it will not affect BP’s pledge to step forward in the first instance to pay
                 all legitimate claims in an efficient and fair manner.”


This 1st day of November, 2010.



Respectfully submitted,


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1
  R. 565.
2
  R. 559, attached as Exhibit A.
3
   Id., at ¶ 2.
4
   Id.
5
   Id.




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On Brief.


                                CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that the above and foregoing Statement of Uncontested
Facts has been served on All Counsel by electronically uploading the same to Lexis
Nexis File & Serve in accordance with Pretrial Order No. 12, and that the foregoing was




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electronically filed with the Clerk of Court of the United States District Court for the
Eastern District of Louisiana by using the CM/ ECF System, which will send a notice of
electronic filing in accordance with the procedures established in MDL 2179, on this 1st
day of November, 2010.


                                    /s/ James Parkerson Roy and Stephen J. Herman




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